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ZENITH t'<->l: 101 l zrssoou, 4643000. 2925000
www_zenilhbani<.pom | SW|F`!`: ZE|l:tNGLA.

 

February 23, 2017

The Managing Director
Erin Petroleum Lirnited
Piot 1649, O|osa Street
Victoria lsland

Lagos

Dear$n

REs:GNATioN QF MR sEGuN 0M10ELE As tHE ceo ANQQ!RECTOR 0F ERlN g_l~_rgRGY
QQW

Our attention has been drawn to the Press Release and the Security and
Exchange Commission {SEC] filing by Erin Energ\/ Corporation (U.S), your parent
company ot Februarv 22, 2017, Where the announcement ot the resignation of Mr
Segun Omide|e as Cniet E)<ecutive Ofticer and a member of the Board ot Erin
Group Was stated.

|n accordance with the terms ot the tacilitv agreement governing our relationship
the resignation ot a Chiet Executive Officer and Director is a substantial change
in management and Board structure and will require full disclosure to the banl<.

ln view of the above, please provide us with all facts surrounding his resignation
and the effect this might have on the running of the company and your facility
with Zenith Banl<.

Thank you

Yo sF lt tulv,
For:Zen B nl< P|c

"r. ‘|

Mr€ '\LLA quu NNAMD| EDEKOB|
Assi tANt GENERAL MANAGER DEPuTY GENERAL MANAGER

    

Dfre<,'fors Jim Ovi:a, CON [Chai`mian). Potel'Al‘riangl)O (Gr'aup M'dnaglng L}irectort Ch`lef E><ecul`ive Oiticer}. A|h€:}l Bab'a `l'e|a. Mr_ Jellrey Efayiltl.
Prof, Ci'luKul<i-.i Er!weineka, Prof_ Oye\.vusi lbldapo-Ol)e, Mr. Gal)riol Ukpeh, Adaara Umeoji {Dopuly |\r!anaging Direotol').
Ebenezer Onyeegwu (Depuly Managing Directorj, L`Jlusola O|adl`pa (Exoou!ive Dil'ector}, Ahmed leer Siluaib (Execulive Director)

